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                       EXHIBIT 2
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Reg. No. 4,681,896            CITY PASS, INC. (WYOMING CORPORATION)
                              27 Arrow Root Lane
Registered Feb. 03, 2015      Victor, IDAHO 83455
Amended Oct. 05, 2021         CLASS 9: [ MAGNETICALLY ENCODED CARDS FOR ENTRY INTO MULTIPLE
                              ATTRACTIONS WITHIN A GIVEN CITY OR REGION ] * downloadable electronic
Int. Cl.: 9, 35, 39, 41       cards in the nature of tickets for entry into multiple attractions within a given city or
Service Mark                  region *

                              FIRST USE 2-20-2011; IN COMMERCE 2-20-2011
Trademark
                              CLASS 35: PROMOTING TOURISM IN VARIOUS CITIES THROUGH PAY-ONE-
Principal Register            PRICE PACKAGE OF ADMISSION TICKETS TO MULTIPLE ATTRACTIONS
                              WITHIN A GIVEN CITY OR REGION; ONLINE RETAIL STORE SERVICES
                              FEATURING PAY-ONE-PRICE PACKAGES OF ADMISSION TICKETS TO
                              MULTIPLE ATTRACTIONS WITHIN A GIVEN CITY OR REGION;
                              ADVERTISING AND MARKETING SERVICES FOR OTHERS IN THE FIELD OF
                              TRAVEL AND TOURISM, NAMELY, PROVIDING ADVERTISEMENTS AND
                              PROMOTIONAL INFORMATION BY MEANS OF A GLOBAL COMPUTER
                              NETWORK; ADMINISTRATION OF A BUSINESS AFFILIATE PROGRAM IN
                              THE FIELD OF TRAVEL AND TOURISM

                              FIRST USE 2-20-2011; IN COMMERCE 2-20-2011

                              CLASS 39: PROVIDING INFORMATION IN THE FIELDS OF TRAVEL AND
                              TOURISM OVER A GLOBAL COMPUTER NETWORK; TRAVEL AGENCY
                              SERVICES, NAMELY, ARRANGING TICKET RESERVATIONS FOR
                              SIGHTSEEING TOURS

                              FIRST USE 2-20-2011; IN COMMERCE 2-20-2011

                              CLASS 41: ENTERTAINMENT SERVICES, NAMELY, ARRANGING TICKET
                              RESERVATIONS FOR AND PROVIDING DISCOUNT TICKETS TO MULTIPLE
                              ATTRACTIONS WITHIN A GIVEN CITY OR REGION BY MEANS OF A
                              GLOBAL    COMPUTER    NETWORK;   PROVIDING   ENTERTAINMENT
                              INFORMATION TO TOURISTS AND TRAVELERS ABOUT THEME PARKS,
                              AMUSEMENT PARKS, PLANETARIUMS, ZOOS AND AQUARIUM
                              ATTRACTIONS; PROVIDING EDUCATIONAL INFORMATION TO TOURISTS
                              AND TRAVELERS ABOUT MUSEUMS, CULTURAL AND LANDMARK
                              VENUES
                    FIRST USE 2-20-2011; IN COMMERCE 2-20-2011
Case 4:22-cv-00454-REP     Document
                The mark consists of "CITY1-2
                                           PASS"Filed   10/31/22
                                                 in stylized format. Page 3 of 3

                    OWNER OF U.S. REG. NO. 4228801, 2255261

                    SER. NO. 86-324,893, FILED 06-30-2014




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